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                                 Slip Op. No. 24-52

          UNITED STATES COURT OF INTERNATIONAL TRADE



GRUPO ACERERO S.A. de C.V.,
GRUPO SIMEC S.A.B. de C.V., et al.,

             Plaintiffs,

and

GERDAU CORSA, S.A.P.I de C.V.,
                                                Before: Stephen Alexander Vaden,
             Plaintiff-Intervenor,
                                                                Judge
v.
                                            Consol. Court No. 1:22-cv-00202 (SAV)
UNITED STATES,

             Defendant,

and

REBAR TRADE ACTION COALITION,

             Defendant-Intervenor.


                                     OPINION

[Remanding the Final Results to Commerce for further proceedings consistent with
this opinion.]

                                                              Dated: April 25, 2024

James L. Rogers, Jr., Nelson, Mullins, Riley & Scarborough LLP, of Greenville, SC,
for Plaintiff Grupo Simec S.A.B. de C.V., et al.

Irene H. Chen, VCL Law LLP, of Vienna, VA, for Consolidated Plaintiff Grupo Acerero
S.A. de C.V. With her on the briefs was Mark B. Lehnardt, Law Offices of David L.
Simon, PLLC, of Washington, DC.
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Craig A. Lewis, Hogan Lovells US LLP, of Washington, DC, for Plaintiff-Intervenor
Gerdau Corsa, S.A.P.I de C.V. With him on the briefs were Jonathan T. Stoel and
Nicholas R. Sparks.

Kara M. Westercamp, Trial Attorney, Commercial Litigation Branch, Civil Division,
U.S. Department of Justice, of Washington, DC, for Defendant United States. With
her on the brief were Brian M. Boynton, Principal Deputy Assistant Attorney
General, Patricia M. McCarthy, Director, Commercial Litigation Branch, L. Misha
Preheim, Assistant Director, Commercial Litigation Branch, and Ian A. McInerney,
Attorney, Office of the Chief Counsel for Trade Enforcement and Compliance, U.S.
Department of Commerce.

Maureen E. Thorson, Wiley Rein LLP, of Washington, DC, for Defendant-Intervenor
Rebar Trade Action Coalition. With her on the brief were Alan H. Price, John R.
Shane, Jeffrey O. Frank, and Paul J. Coyle.

       Vaden, Judge: This case concerns an antidumping review conducted under

the shadow of the 2019 novel coronavirus pandemic — a review during which three

of Plaintiff Simec’s employees died and a fourth was hospitalized and intubated.1

Simec sought a deadline extension to submit information related to its downstream

sales as part of a supplemental questionnaire. The United States Department of

Commerce (Commerce) denied the request, stating that “none of the reasons for

extension requests … were novel.” IDM at 10, J.A. at 7,722, ECF No. 68 (emphasis

added).   The resulting missing information led Commerce to draw an adverse




1
 The opinion refers to the Plaintiff singularly because Commerce treats the various affiliates
as one entity for purposes of its review. Issues and Decisions Memorandum accompanying
the Final Results (IDM) at 1 n.2, J.A. at 7,713, ECF No. 68. Simec is comprised of Grupo
Simec S.A.B. de C.V.; Aceros Especiales Simec Tlaxcala, S.A. de C.V.; Compania Siderurgica
del Pacifico S.A. de C.V.; Fundiciones de Acero Estructurales, S.A. de. C.V.; Grupo Chant
S.A.P.I. de C.V.; Operadora de Perfiles Sigosa, S.A. de C.V.; Orge S.A. de C.V.; Perfiles
Comerciales Sigosa, S.A. de C.V.; RRLC S.A.P.I. de C.V.; Siderúrgicos Noroeste, S.A. de C.V.;
Siderurgica del Occidente y Pacifico S.A. de C.V.; Simec International 6 S.A. de C.V.; Simec
International, S.A. de C.V.; Simec International 7 S.A. de C.V.; and Simec International 9
S.A. de C.V. Pls.’ Br. at 1, ECF No. 43.
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inference using facts available to calculate Simec’s dumping margin, which in turn

impacted the rate for the companies not selected for review.

      This case is an outlier, both in terms of its factual context and Commerce’s

response; but “[COVID-19] did not suspend the general principles of administrative

law.” See Bonney Forge Corp. v. United States, 46 CIT __, 560 F. Supp. 3d 1303, 1305

(2022).   Those principles lead the Court to conclude that the denial of Simec’s

extension request was an abuse of discretion and that Commerce’s explanation of why

it denied the extension is unsupported by substantial evidence. The Court therefore

REMANDS this case to Commerce with instructions.

                                 BACKGROUND

      This case involves an appeal from the Final Results of the Fifth Administrative

Review of the Antidumping Order on Steel Concrete Reinforcing Bar (rebar) from

Mexico for the period from November 1, 2019 to October 31, 2020 (the Review Period).

See Steel Concrete Reinforcing Bar from Mexico (Final Results), 87 Fed. Reg. 34,848

(Dep’t of Com. Jun. 8, 2022), J.A. at 7,781, ECF No. 68; IDM, J.A. at 7,713, ECF No.

68; Questionnaire Deficiencies Analysis (Deficiencies Memo), J.A. at 91,515, ECF No.

67. More specifically, this case is about how Commerce treated two experienced

respondents, Simec and Deacero S.A.P.I. de C.V. (Deacero), differently in the review

conducted during the COVID-19 pandemic in Mexico.

      In 2014, Commerce published an antidumping order covering rebar from

Mexico (the Order). Steel Concrete Reinforcing Bar from Mexico, 79 Fed. Reg. 65,925

(Nov. 6, 2014).   Simec and Deacero are two Mexican rebar producers.          Simec
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participated in the original investigation as a voluntary respondent, and Deacero

participated as a mandatory respondent. See Steel Concrete Reinforcing Bar from

Mexico, 79 Fed. Reg. 22,802 (Dep’t of Com. Apr. 24, 2014). Simec and Deacero

participated as mandatory respondents in the 2014–15, 2016–17, and 2017–18

administrative reviews. See Steel Concrete Reinforcing Bar from Mexico, 82 Fed. Reg.

27,233 n.2 (Dep’t of Com. June 14, 2017) (2014–15 review); Steel Concrete Reinforcing

Bar from Mexico, 84 Fed. Reg. 35,599 (Dep’t of Com. July 24, 2019) (2016–17 review);

Steel Concrete Reinforcing Bar from Mexico, 85 Fed. Reg. 71,053 (Dep’t of Com. Nov.

6, 2020) (2017–18 review). Deacero participated as a mandatory respondent in the

2018–19 review. See Steel Concrete Reinforcing Bar from Mexico, 86 Fed. Reg. 50,527

(Dep’t of Com. Sept. 9, 2021). Simec participated in the 2018–19 review but was not

a mandatory respondent. See id.; see also Steel Concrete Reinforcing Bar from Mexico

at 2, A-201-844, (Mar. 17, 2021), https://bit.ly/44brJ6q (last visited April 25, 2024).

(Preliminary Decision Memo explaining that Simec requested review of its entries for

the period of review, but Commerce limited the review to Deacero).

                  I.     The Disputed Administrative Review

      On November 3, 2020, Commerce published a notice of opportunity to request

an administrative review. Antidumping or Countervailing Duty Order, Finding, or

Suspended Investigation; Opportunity to Request Administrative Review, 86 Fed. Reg.

69,586 (Dep’t of Com. Nov. 3, 2020). Defendant-Intervenor Rebar Trade Action

Coalition (the Coalition) petitioned Commerce for a review.            Steel Concrete

Reinforcing Bar from Mexico (Request for Administrative Review), J.A. at 1,004, ECF
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No. 68. On January 6, 2021, Commerce published a notice of administrative review

for the parties subject to the Order for 2019–20. See Initiation of Antidumping and

Countervailing Duty Administrative Reviews, 85 Fed. Reg. 511 (Dep’t of Com. Jan. 6,

2021), J.A. at 1,040, ECF No. 68.          Commerce selected Simec and Deacero as

mandatory respondents; and Consolidated Plaintiff Grupo Acerero and Plaintiff-

Intervenor Gerdau Corsa remained subject to the review as non-selected companies.2

See Steel Concrete Reinforcing Bar from Mexico (Preliminary Results), 86 Fed. Reg.

68,632–33 (Dep’t of Com. Dec. 3, 2021), J.A. at 7,269–70, ECF No. 68.

       During the review, Mexico experienced a COVID-19 Delta Variant outbreak,

which lagged a similar wave in the United States a few months prior. See Oral Arg.

Tr. at 22:6–12, ECF No. 71.          Both mandatory respondents faced Mexico-wide

COVID-19 restrictions on travel and on-site work. See, e.g., Simec Second A&D

Questionnaire Extension Req. (Aug. 16, 2021) at 1–2, J.A. at 4,910–11, ECF No. 68;

Deacero Second Suppl. Questionnaire Extension Req. (Oct. 1, 2021) at 1–2, J.A. at

6,606–07, ECF No. 68. These restrictions hampered the companies’ coordination with

employees in different departments and geographically dispersed affiliates. Id. They

proved particularly burdensome during the information-gathering period before

Commerce published its Preliminary Results. Id. Mexico also lacked the same level

of access to COVID-19 vaccines as the United States. Oral Arg. Tr. at 22:12–18, ECF

No. 71.


2 Gerdau Corsa is the successor-in-interest to Sidertul S.A. de C.V. (Sidertul) as of December

1, 2021. Joint Mot. of Grupo Acerero and Gerdau Corsa at 1 n.1, ECF No. 44 (Joint Opening
Br.). Sidertul participated in the administrative review at issue here as a foreign producer
but was not selected for individual examination. Id.
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      As Mexico’s Delta outbreak and COVID-19 restrictions continued, Commerce

required the respondents to produce significant amounts of information, often from

on-site records. Simec and Deacero both faced Mexico-wide COVID issues, but Simec

also notified Commerce of the outbreak’s tragic consequences — the deaths of three

key accountants and the intubation of another. See Simec Third A&D Questionnaire

Extension Req. (Aug. 16, 2021) at 1, J.A. at 4,914, ECF No. 68; see also Pls.’ Br. at 38,

ECF No. 43. Given the pandemic, both respondents requested multiple extensions

from Commerce to produce the requested information.

           A. Simec’s Initial and Supplemental Questionnaire Periods

      On February 8, 2021, Commerce issued initial questionnaires to Deacero and

Simec.   Deacero Initial Questionnaire, J.A. at 1,094, ECF No. 68; Simec Initial

Questionnaire, J.A. at 1,246, ECF No. 68. Simec experienced several challenges when

responding to its questionnaire: (1) a key accountant died from COVID-19; (2) an at-

risk pregnant employee had to be isolated; (3) some workers contracted COVID-19;

and (4) a Texas winter storm affected power, heat, and internet at Simec’s facilities.

See, e.g., Simec Initial Questionnaire Extension Req. (Mar. 19, 2021), J.A. at 3,707,

ECF No. 68. Simec received three extensions ranging from one to four weeks. IDM

at 7, J.A. at 7,719, ECF No. 68; Def.’s Br. at 4, ECF No. 47. It filed responses for

sections A through D from March 8 through April 14, providing downstream sales

data and analysis. Deficiencies Memo at 1, J.A. at 91,515, ECF No. 67.

      After identifying deficiencies in Simec’s responses, Commerce issued

supplemental questionnaires for sections A through C on July 27, 2021, and sections
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A and D on August 4, 2021. Simec A–C Questionnaire, J.A. at 4,873, ECF No. 68;

Simec A&D Questionnaire, J.A. at 4,890, ECF No. 68.3 Commerce initially provided

Simec three weeks to respond to the A–C Questionnaire and one week to respond to

the A&D Questionnaire. Simec A–C Questionnaire, J.A. at 4,873, ECF No. 68 (due

August 17, 2021); Simec A&D Questionnaire, J.A. at 4,890, ECF No. 68 (due August

11, 2021). All parties agree that the supplemental questionnaires, which contained

275 questions over 29 pages, were extensive. Pls.’ Br. at 6, ECF No. 43; see also Joint

Opening Br. at 9–10, ECF No. 44; Def.’s Br. at 30, ECF No. 47 (quoting IDM at 27,

J.A. at 7,739, ECF No. 68) (characterizing the Initial Questionnaire deficiencies as

“so extensive that they resulted in over 200 supplemental questions”); Def.-Int.’s Br.

at 2, ECF No. 54 (stating that Commerce identified many deficiencies, which yielded

“more than two hundred supplemental questions spread over two supplemental

questionnaires”). Deacero did not receive any supplemental questionnaires until

September 7, 2021. Deacero First Suppl. Questionnaire, J.A. at 4,962, ECF No. 68

(due September 14, 2021).




3 It is unclear whether the A–C and A&D Questionnaires constitute Simec’s first and second

supplemental questionnaires or are merely two parts of one supplemental questionnaire.
Compare Simec First A&D Questionnaire Extension Req. (Aug. 16, 2021), J.A. at 4,908, ECF
No. 68 (characterized as two questionnaires), with Pls.’ Br. at 11, ECF No. 43 (contrasting
Simec’s situation with Deacero, which received more than one supplemental questionnaire).
To the extent the distinction is relevant to assess Commerce’s decision to issue multiple
supplemental questionnaires to Deacero but not Simec, the Court notes that Simec’s A–C and
A&D Questionnaires came due at an earlier point in the review process than Deacero’s second
and third questionnaires. Compare Simec A&D Questionnaire Resp. (Sept. 10, 2021) at 1,
J.A. at 86,713, ECF No. 66, with Deacero Second Suppl. Questionnaire Resp. (Oct. 19, 2021),
J.A. at 6,629, ECF No. 68, and Deacero Third Suppl. Questionnaire Resp. (Nov. 10, 2021),
J.A. at 7,162, ECF No. 68.
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      Simec once again requested multiple extensions to answer its supplemental

questionnaires. Those requests and Commerce’s responses show the cumulative and

compounding effects of the pandemic on Simec and contrast with Deacero’s

treatment. On August 9, 2021, Simec requested a three-week extension for both

supplemental questionnaires, citing the burden of answering them and Mexico’s

COVID-19 restrictions.    Simec A–C/A&D Questionnaire Extension Req. (Aug. 9,

2021), J.A. at 4,904, ECF No. 68. Commerce granted the request in part but warned:

      Pursuant to 19 CFR 351.302(d)(1)(i) … any information submitted after
      the applicable deadline will be considered untimely filed and may be
      rejected. In such a case, we may have to resort to the use of facts
      available, as required by section 776(a)(2)(B) of the Tariff Act of 1930,
      as amended.

Simec A–C/A&D Extension Grant (Aug. 10, 2021), J.A. at 4,907, ECF No. 68. This

boilerplate warning appeared on extension request responses to both Simec and

Deacero. See, e.g., Deacero First Suppl. Questionnaire Extension Grant (Sept. 8,

2021) at 1, J.A. at 6,280, ECF No. 68.

      On August 16, Simec sent another A&D Questionnaire extension request in

three letters that portrayed a quickly worsening situation. In the first letter, Simec

stated that employees were “working flat out to answer Commerce’s two …

questionnaires” and “[f]or reasons … in [its] first and only extension request,” it

needed more time. Simec First A&D Questionnaire Extension Req. (Aug. 16, 2021)

at 1, J.A. at 4,908, ECF No. 68. In its second letter, Simec added that (1) Mexico’s

Delta Variant outbreak was worsening; (2) Commerce extended its own deadlines by

several months when the United States experienced its own COVID-19 outbreak in
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2020; (3) Simec retained an experienced Indian attorney, but he was unable to travel

because of COVID-19 restrictions in Mexico and India; and (4) Commerce had

extended its preliminary decision deadline and had not yet issued any supplemental

questionnaires to Deacero. Simec Second A&D Questionnaire Extension Req. (Aug.

16, 2021) at 1–2, J.A. at 4,910–11, ECF No. 68. In its third letter, Simec offered a

startling update: Two of its accountants had died from COVID-19 and another was

intubated. Simec Third A&D Questionnaire Extension Req. (Aug. 16, 2021) at 1, J.A.

at 4,914, ECF No. 68. Simec now had to rely on less experienced accountants to

answer the supplemental questionnaires. Id. Commerce granted the August 16

request in full. Simec A&D Extension Grant (Aug. 16, 2021), J.A. at 4,916, ECF No.

68.

      On August 20, Simec sent another A–C Questionnaire extension request, citing

the burden of the questionnaire and reiterating the reasons stated in its three August

16 letters. Simec A–C Questionnaire Extension Req. (Aug. 20, 2021), J.A. at 4,917,

ECF No. 68. Simec also quoted its August 9 request observing that “the burden to

answer [275 questions over 29 pages] is overwhelming.” Id. at 2, J.A. at 4,918. Simec

added that Mexico’s Delta outbreak was “far worse than ever.” Id. On August 23,

2021, Commerce partly granted the request. Simec A–C Extension Grant (Aug. 23,

2021), J.A. at 4,921, ECF No. 68.

      On Saturday, August 28, Simec filed an extension request for both

supplemental    questionnaires   but noted specific     questions from     the A&D

questionnaire it believed required additional time. Simec A–C/A&D Questionnaire
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Extension Req. (Aug. 28, 2021) at 1, J.A. at 4,926, ECF No. 68. Simec attached a copy

of its August 20 extension request as background information and noted the impact

of Mexico-wide COVID-19 restrictions on its ability to coordinate across companies.

Id. at 1, J.A. at 4,926. It also responded to the Coalition’s opposition to granting

additional extensions, arguing that “Petitioners heartlessly fail to mention that two

Simec individuals … recently died from [COVID-19] and a third is … clinging to life

on a respirator.” Id. at 2, J.A. at 4,927.

      Before Commerce could respond, Simec filed another request on August 30.

Simec A–C/A&D Questionnaire Extension Req. (Aug. 30, 2021), J.A. at 4,932, ECF

No. 68. Simec sought similar deadlines as its previous request and additional time

for the A–C questionnaire responses for affiliate and downstream sales. Id. at 1, J.A.

at 4,932. Simec reiterated its challenges retrieving information across a diffuse

company impacted by COVID-19. Id. On August 30, Commerce partly extended the

deadline and granted Simec extra time to respond to the A–C questions for affiliate

and downstream sales. Simec A–C Extension Grant (Aug. 30, 2021), J.A. at 4,939,

ECF No. 68. Commerce also partly extended the A&D Questionnaire deadline. Simec

A&D Extension Grant (Aug. 31, 2021), J.A. at 4,940, ECF No. 68.

      On September 1, Simec filed another A–C Questionnaire extension request for

the affiliate and downstream sales questions. Simec A–C Questionnaire Extension

Req. (Sept. 1, 2021) at 1, J.A. at 4,941, ECF No. 68. Simec stated that the obstacles

in its August 20 and August 30 requests persisted. Id. It also argued that Commerce

should grant more time because “entry summaries and other documents are not
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readily accessible[] given [COVID-19] restrictions.” Id. Commerce granted a blanket

extension but gave no extra time for the specific questions. Simec A–C Extension

Grant (Sept. 1, 2021), J.A. at 4,944, ECF No. 68. Commerce also warned that “given

the amount of time already granted … as well as the statutory and regulatory

deadlines in this case and ongoing workloads, we are unlikely to be able to

accommodate any additional extensions of time ….” Id.

       On September 2, Simec filed a similar one-week A&D Questionnaire extension

request. Simec A&D Questionnaire Extension Req. (Sept. 2, 2021) at 1, J.A. at 4,945,

ECF No. 68. Commerce granted two extra days but warned that it was unlikely to

grant more extension requests. Simec A&D Extension Grant (Sept. 3, 2021), J.A. at

4,953, ECF No. 68.

       In a September 6 letter to Commerce, Simec took stock of its situation. The A–

C Questionnaire was due September 7, and the A&D Questionnaire was due

September 9. Simec A–C Questionnaire Extension Req. (Sept. 6, 2021) at 1, J.A. at

4,954, ECF No. 68. Simec noted, “Commerce said don’t expect further extensions[,]”

so that the submissions would be “based on what has been possible to do to date.” Id.

Simec also reported that its employees were “sleep depriv[ed] for days and weeks”

from trying to answer the questions and that the reasons detailed in the August 20,

August 30, and September 2 extension requests justified a further extension. Id.

Simec asked for a two-week extension, specifying that it needed extra time to submit

affiliated company downstream sales and window period sales data.4 Id. It noted


4 “Window period” sales data involve situations where there are U.S. sales but no comparable

home market sales during the same month(s). The “window period” refers to home market
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that answering downstream sales questions required manually reviewing more than

800 invoices. Id. Commerce denied Simec’s extension request the next day. It found,

“The [September 6] request for additional time provides no detailed justification for

why the preparation of responses for questions 70-75 or the window period sales

requires additional time beyond the six weeks already allotted.”                Simec A–C

Extension Denial (Sept. 7, 2021), J.A. at 4,958, ECF No. 68.

       Later that day, at around 4:30 p.m., Simec responded.                    Simec A–C

Questionnaire Extension Req. (Sept. 7, 2021) at 1, J.A. at 4,959, ECF No. 68. Simec

stated that it now sought one extra week for questions 70 to 75. Id. It maintained

that its previous requests detailed its need but added details about how COVID-19

restrictions hampered its response. Id. The company also stated that it needed to

extract various rebar expenses from invoices that did not separate rebar data from

other products. Id. Commerce did not respond before the deadline so that Simec filed

public and confidential A–C Questionnaire responses on September 7 and September

8. See Simec A–C Questionnaire Resp. (Sept. 8, 2021) at 1, J.A. at 4,973, ECF No. 68.

Under Commerce’s regulations, Simec’s unanswered September 7 extension request

automatically moved the deadline to September 8 at 8:30 a.m. Simec A–C Extension

Denial (Sept. 9, 2021) at 1 n.1, J.A. at 6,282, ECF No. 68 (citing Extension of Time

Limits, 78 Fed. Reg. 57,790, 57,792 (Dep’t of Com. Sept. 30, 2013)). Simec nonetheless




sales made up to ninety days before or sixty days after the U.S. sales month that lacks
contemporaneous home market sales data. See Rebar Trade Action Coal. v. United States,
45 CIT __, 503 F. Supp. 3d 1295, 1305 (CIT 2021). Those window period sales prices may
then be compared to the U.S. sales prices to determine if dumping occurred. Id.; see 19 C.F.R.
§ 351.414(f).
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missed the deadline for questions 70 to 75 and failed to submit responses for those

questions. See Simec A–C Questionnaire Resp. (Sept. 8, 2021) at 53, J.A. at 5,034,

ECF No. 68; see also Simec Cover Letter (Oct. 18, 2021) at 1–4, J.A. at 6,625–28, ECF

No. 68.

      Commerce belatedly responded on September 9 and rejected Simec’s extension

request. Simec A–C Extension Denial (Sept. 9, 2021) at 1–2, J.A. at 6,282–83, ECF

No. 68.   Commerce noted that it granted three extra weeks to respond to the

questionnaire and already denied an extension request for questions 70 through 75.

Id. Commerce was left to analyze an incomplete record because the rest of Simec’s

downstream cost information never became part of the record.

      On September 9, Simec submitted a final extension request for the A&D

Questionnaire, which was due that same day. Simec A&D Questionnaire Extension

Req. (Sept. 9, 2021) at 1–2, J.A. at 6,284–85, ECF No. 68. It noted issues with file

corruption and challenges compiling and formatting data. Id. Simec also recounted

many of the COVID-related issues that plagued the supplemental questionnaire

period, including the lack of available COVID-19 vaccines in Mexico in comparison to

the United States. Id. at 2 n.3, J.A. at 6,285. Commerce granted Simec’s one-day

extension request but reiterated that it was unlikely to grant more extensions. Simec

A&D Extension Grant (Sept. 9, 2021), J.A. at 6,287, ECF No. 68. Simec timely filed

its A&D responses on September 10. Simec A&D Questionnaire Resp. (Sept. 10,

2021) at 1, J.A. at 86,713, ECF No. 66. Although it would be nearly three months
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until Commerce issued its Preliminary Results, Commerce did not seek or accept

additional factual information from Simec. Pls.’ Reply Br. at 1–2, ECF No. 51.

      B. Deacero’s Supplemental Questionnaires and Simec’s October 18
                                   Filing

      Simec’s role in the fact-gathering portion of the administrative review was

finished, but Deacero’s continued. On September 7, 2021, Commerce issued its first

supplemental questionnaire to Deacero for Section A of its Initial Questionnaire.

Deacero First Suppl. Questionnaire, J.A. at 4,962, ECF No. 68. Deacero later received

multiple extensions across three supplemental questionnaires.

      On September 8, Deacero requested a one-week extension because the

questionnaire: (1) requires a “significant amount of information from Deacero and

other separate entities”; (2) involves participation from multiple departments; (3)

involves “separate legal entities with different systems and records”; (4) requires

coordination with personnel in charge of the information; (5) involves translating long

documents; and (6) requires counsel to review the responses, follow up with questions,

and format the narrative and exhibits for submission. See Deacero First Suppl.

Questionnaire Extension Req. (Sept. 8, 2021) at 1–2, J.A. at 6,277–78, ECF No. 68.

Commerce granted this request in full.         Deacero First Suppl. Questionnaire

Extension Grant (Sept. 8, 2021), J.A. at 6,280, ECF No. 68. Deacero timely filed its

First Supplemental Questionnaire. Deacero First Suppl. Questionnaire Resp. (Sept.

20, 2021), J.A. at 6,515, ECF No. 68.

      On September 22, Commerce issued Deacero’s Second Supplemental

Questionnaire comprised of seventy-seven questions.          Deacero Second Suppl.
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Questionnaire, J.A. at 6,589, ECF No. 68; Deacero Second Suppl. Questionnaire

Extension Req. (Sept. 24, 2021) at 2, J.A. at 6,602, ECF No. 68. Deacero requested a

two-week extension on September 24 because:       (1) the questionnaire was “quite

extensive”; (2) it needed to update its sales databases and submit voluminous

supplemental documents; (3) the responses involve multiple departments; (4)

relevant documents were maintained in separate departments and “separate entities

with separate records”; (5) COVID-19 imposed “administrative constraints”; (6) most

employees were still teleworking, which delayed contact, discussion, and obtaining

documents; (7) Deacero was responding to a supplemental questionnaire in another

review, which involved the same employees and resources; and (8) counsel needed to

review the responses, follow up with questions, and format the narrative and exhibits

for submission. Deacero Second Suppl. Questionnaire Extension Req. (Sept. 24, 2021)

at 1–2, J.A. at 6,601–02, ECF No. 68. Commerce partly granted this request. Deacero

Second Suppl. Questionnaire Extension Grant (Sept. 24, 2021) at 1, J.A. at 6,604,

ECF No. 68.

      On October 1, Deacero requested another one-week extension, restating the

reasons identified in its September 24 request and saying “despite Deacero’s

redoubled efforts and its staff working around the clock and through weekends,” it

needed more time. Deacero Second Suppl. Questionnaire Extension Req. (Oct. 1,

2021) at 1, J.A. at 6,606, ECF No. 68. Deacero also noted that COVID-19 teleworking

limited employees’ ability to access company systems and coordinate staff to gather,

send, and review the requested information. Id. at 1–2, J.A. at 6,606–07. Commerce
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granted this request. Deacero Second Suppl. Questionnaire Extension Grant (Oct. 1,

2021) at 1, J.A. at 6,609, ECF No. 68.

       Deacero next submitted a four-day extension request. Deacero Second Suppl.

Questionnaire Extension Req. (Oct. 13, 2021), J.A. at 6,614, ECF No. 68. Deacero

reiterated that most employees were teleworking and that its resources were split

between this questionnaire and responding to another questionnaire in a different

review. Id. at 1–2, J.A. at 6,614–15. It did not mention COVID-19 in this request.

See id. at 1–3, J.A. at 6,614–16. Deacero also claimed that: (1) it was experiencing

internet connection issues, which hampered access to its systems, delayed attempts

to retrieve and locate documents, and delayed updates for its sales databases; (2)

counsel needed to review the information, follow up with questions, and format the

documents for submission; and (3) “Deacero respectfully submits that this short

extension will not adversely affect any other party or unduly hinder [Commerce’s]

ability to analyze the information within the statutory deadlines.” Id. at 1–2, J.A. at

6,614–15. Commerce partly granted this request –– setting the deadline for October

18, 2021. Deacero Second Suppl. Questionnaire Extension Grant (Oct. 13, 2021), J.A.

at 6,617, ECF No. 68. Deacero timely filed its Second Supplemental Questionnaire.

See Deacero Second Suppl. Questionnaire Resp. (Oct. 19, 2021), J.A. at 6,629, ECF

No. 68.5

       On October 18, as Deacero was filing its Second Supplemental Questionnaire,

Simec attempted to file its missing responses to the A–C Suppl. Questionnaire (the



5 Deacero dated its filing October 18; however, the filing is timestamped October 19.
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October 18 Filing). See Rejected October 18 Filing, J.A. at 6,619–24, ECF No. 68

(blank placeholder sheets for the rejected data).        Simec sought to include (1)

information related to affiliated and downstream sales; (2) other information on cost

allocation methodology; and (3) Spanish-to-English translations that had been

inadvertently stripped during the original filing process. Pls.’ Br. at 12, ECF No. 43

(citing Simec Cover Letter (Oct. 18, 2021) at 1–4, J.A. at 6,625–28, ECF No. 68). It

requested that Commerce accept this filing because of challenges faced during the

supplemental review period and because Commerce was still accepting information

from Deacero. Simec Cover Letter (Oct. 18, 2021) at 1–4, J.A. at 6,625–28, ECF No.

68. At the time of Simec’s attempted submission, Deacero had no further outstanding

questionnaires. Had Commerce accepted the October 18 Filing, Simec and Deacero

would have been on equal footing with their responses’ timing. Commerce rejected

the filing as untimely. Simec October 18 Filing Denial (Oct. 19, 2021), J.A. at 7,108,

ECF No. 68 (citing 19 C.F.R. § 351.302(d)(1)(i)).

      Despite having no time for further information from Simec, Commerce issued

a third supplemental questionnaire to Deacero on November 3, 2021. See Deacero

Third Suppl. Questionnaire at 1, J.A. at 7,120, ECF No. 68. Two days later, Deacero

requested a two-day extension because it needed more time to manually search its

records. Deacero Third Suppl. Questionnaire Extension Req. (Nov. 5, 2021) at 1, J.A.

at 7,123, ECF No. 68. It again asserted that this extension would not adversely affect

any other party or hinder Commerce’s ability to analyze the information within its

statutory deadlines. Id. at 2, J.A. at 7,124. Commerce granted the request. Deacero
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Third Suppl. Questionnaire Extension Grant (Nov. 5, 2021) at 1, J.A. at 7,126, ECF

No. 68. Deacero timely filed its Third Supplemental Questionnaire. Deacero Third

Suppl. Questionnaire Resp. (Nov. 10, 2021), J.A. at 7,162, ECF No. 68.

                  C. Commerce’s Preliminary and Final Results

    Commerce published its Preliminary Results on December 3, 2021. Preliminary

Results, 86 Fed. Reg. 68,632, J.A. at 7,269, ECF No. 68. It applied facts available

with an adverse inference against Simec because Simec “failed to provide any

responses to the questions related to downstream sales” and the responses the

company did submit “fail[ed] to provide information Commerce requested,

[incorrectly] stated that various errors or discrepancies had been corrected … and

provided supporting documentation which indicated that certain reported data were

incorrect.”   Issues and Decisions Memorandum accompanying the Preliminary

Results (PDM) at 5, J.A. at 7,222, ECF No. 68. Commerce assigned Simec a dumping

margin of 66.70 percent, which was the same margin assigned to Simec during the

original investigation. Def.’s Br. at 6, ECF No. 47 (citing PDM at 9, J.A. at 7,226,

ECF No. 68); see also Steel Concrete Reinforcing Bar from Mexico (Final

Determination), 79 Fed. Reg. 54,967 (Dep’t of Com. Sept. 15, 2014). Commerce

calculated a zero percent rate for Deacero. PDM at 10, J.A. at 7,227, ECF No. 68. It

also calculated the rate for the companies not selected for individual examination by

averaging Simec’s rate and Deacero’s rate. Id. (citing 19 U.S.C. § 1673d(c)(5)(B)).

That simple average resulted in a 33.35 percent dumping margin for non-selected

companies with transactions during the review period. Def.’s Br. at 7, ECF No. 47.
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        Commerce published its Final Results on June 8, 2022. See generally IDM,

J.A. at 7,713, ECF No. 68. Commerce continued to apply facts available with an

adverse inference against Simec. See id. at 1, J.A. at 7,713. All dumping margins

remained the same. Id. at 41, J.A. at 7,753. It concurrently published the public

version of its Deficiencies Memorandum, which details deficiencies in Simec’s

submissions.6 Deficiencies Memo, J.A. at 7,817, ECF No. 68.

                              II.    The Present Dispute

        On August 8, 2022, Simec brought this action under § 516A of the Tariff Act of

1930,    19   U.S.C.   §§   1516a(a)(2)(A)(i)(I)   and    1516a(a)(2)(B)(iii),   challenging

Commerce’s Final Results. Compl. ¶¶ 2, 8–11, ECF No. 8. The Coalition intervened

as Defendant-Intervenor. Order Granting Intervention, ECF No. 16. Grupo Acerero

filed a separate action challenging the Final Results. Compl., Grupo Acerero S.A. de

C.V. v. United States, No. 22-230 (CIT Aug. 26, 2022), ECF No. 8. In addition to the

issues Simec raises, Grupo Acerero challenges the 33.35 percent non-selected

company rate as unsupported by substantial evidence. Id. ¶ 28. The Coalition

intervened as a Defendant-Intervenor in that case as well.                 Order Granting

Intervention, Grupo Acerero S.A. de C.V. v. United States, No. 22-230 (CIT Sept.6

2022), ECF No. 16. Gerdau Corsa joined as Plaintiff-Intervenor on September 23,

2022. Order Granting Intervention, Grupo Acerero S.A. de C.V. v. United States, No.


6 Commerce   initially failed to place its Deficiencies Memo on the record because “a case
analyst unfamiliar with the administrative review was covering for the assigned case analyst,
who was on leave, and inadvertently failed to file the public and confidential versions of the
Deficiencies Memorandum ….” Def.’s Mot. to Correct the R. at 2, ECF No. 28. The Court
took briefing on the issue and ultimately allowed Commerce to supplement the
administrative record with the confidential Deficiencies Memo. ECF No. 39.
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22-230 (CIT Sept. 23, 2022), ECF No. 23. After an in-person status conference on

October 26, 2022, the Court consolidated both actions with Simec’s action designated

as the lead case. Consolidation Scheduling Order, ECF No. 27.

      In their briefs, the parties focus on (1) whether Commerce abused its discretion

in denying Simec’s extension requests and rejecting the October 18 Filing, (2)

Commerce’s drawing an adverse inference, and (3) Commerce’s use of simple

averaging to calculate the non-selected company rate.         In response, Commerce

broadly defends its use of total adverse facts available for Simec and use of a simple

average for the non-selected company rate. Def.’s Br. at 12–46, ECF No. 47. It claims

it did not abuse its discretion in denying the extension requests and rejecting the

October 18 Filing. Id. at 12–19. Commerce asserts that adverse inferences were

appropriate because Simec failed to cooperate to the best of its ability. Id. at 30–39.

      In its reply brief, Simec focuses its argument on Commerce’s disparate

treatment of Simec vis-à-vis Deacero, observing that Commerce cut Simec out of the

fact gathering portion two months before Deacero’s submissions ended. Pls.’ Reply

at 1–10, ECF No. 51. Simec also reiterates its arguments that Commerce abused its

discretion in rejecting the October 18 Filing and assigning Simec a 66.70 percent

dumping margin. Id. at 10–15. In their joint reply brief, Grupo Acerero and Gerdau

Corsa also argue that the non-selected company rate did not reasonably reflect the

potential dumping margins for the non-selected respondents. Joint Reply Br. at 12–

23, ECF No. 52.
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      The Court held oral argument on December 15, 2023. ECF No. 64. Simec’s

counsel represented to the Court — and Commerce did not find in its decision to the

contrary — that the documents Simec sought to file on October 18 were the same as

Simec would have filed had Commerce granted its September 7 extension request.

Oral Arg Tr. 19:20–25, ECF No. 71 (The Court: “[D]o I hear you representing to the

Court that essentially what you did on October 18th was attempt to give [Commerce]

… the same thing that they would have received in the first ten days of September

had they given you a couple of additional days?” Mr. Rogers: “Yes, Your Honor.”).

Simec’s counsel also represented that Simec chose to submit its information on

October 18 to coincide with Deacero’s Second Supplemental Questionnaire deadline,

which at the time was Deacero’s last opportunity to submit information before the

Preliminary Results. Id. at 19:25–20:13. All parties agreed that, should the Court

remand on the issue of Commerce’s failure to grant an extension of time to Simec, it

should stay any consideration of the non-selected company rate until the remand

determination. Id. at 83:12–19, 94:2–7, 98:13–20. Any change in Simec’s rate would

necessarily affect the non-selected company rate. Id. at 94:7–11 (Defendant’s counsel

noting that a change in Simec’s rate would “necessarily flow [and affect] the non-

selected rate ….”); id. at 98:20–22 (Coalition’s counsel agreeing that, if the case were

remanded, the non-selected company rate issue “could go away depending on what

happens on remand.”).
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                JURISDICTION AND STANDARD OF REVIEW

      This Court has jurisdiction under 28 U.S.C. § 1581, which grants authority to

review challenges to antidumping order final determinations. The Court must set

aside any of Commerce’s “determination[s], finding[s], or conclusion[s]” found to be

“unsupported by substantial evidence on the record, or otherwise not in accordance

with law ….” 19 U.S.C. § 1516a(b)(1)(B)(i); see also 28 U.S.C. § 2640(b) (noting that

§ 516A civil actions are reviewed under 19 U.S.C. § 1516a(b)). “[T]he question is not

whether the Court would have reached the same decision on the same record[;]

rather, it is whether the administrative record as a whole permits Commerce’s

conclusion.” New Am. Keg v. United States, 45 CIT __, 2021 Ct. Intl. Trade LEXIS

34, at *15.   When reviewing agency determinations, findings, or conclusions for

substantial evidence, the Court assesses if the agency’s action is reasonable given the

record as a whole. Nippon Steel Corp. v. United States, 458 F.3d 1345, 1350–51 (Fed.

Cir. 2006); see also Universal Camera Corp. v. NLRB, 340 U.S. 474, 488 (1951) (“The

substantiality of evidence must take into account whatever in the record fairly

detracts from its weight.”). The Federal Circuit describes “substantial evidence” as

“such relevant evidence as a reasonable mind might accept as adequate to support a

conclusion.” DuPont Teijin Films USA, LP v. United States, 407 F.3d 1211, 1215

(Fed. Cir. 2005) (quoting Consol. Edison Co. v. NLRB, 305 U.S. 197, 229 (1938)).

      Commerce has discretion to set and enforce deadlines in administrative

reviews. See Dongtai Peak Honey Indus. Co., Ltd. v. United States, 777 F.3d 1343,

1352 (Fed. Cir. 2015); see also 19 C.F.R. § 351.302 (extension of time limits). But that
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discretion is not absolute. See Grobest & I-Mei Indus. (Viet.) Co., Ltd. v. United

States, 36 CIT 98, 122 (2012) (citing NTN Bearing Corp. v. United States, 74 F.3d

1204, 1207 (Fed. Cir. 1995)). Commerce’s exercise of discretion is reviewed under the

default standard of the Administrative Procedure Act. See SolarWorld Americas, Inc.

v. United States, 962 F.3d 1351, 1359 n.2 (Fed. Cir. 2020) (explaining that, in cases

reviewed under 28 U.S.C. § 2640(b), section 706 review applies “since no law provides

otherwise”); Oman Fasteners, LLC v. United States, 47 CIT __, 2023 Ct. Intl. Trade

LEXIS 28, at *10 (“Commerce’s exercise of discretion in § 516A cases is subject to the

default standard of the Administrative Procedure Act.”). This standard allows the

Court to “set aside agency action, findings, and conclusions found to be … arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C.

§ 706(2)(A).

                                   DISCUSSION

                                  I.   SUMMARY

      Commerce abused its discretion when it cut Simec out of the fact-gathering

portion of the review nearly three months before publishing the Preliminary Results

by citing the need to meet statutory deadlines.      Meanwhile, it granted Deacero

multiple extension requests over three supplemental questionnaires for nearly two

more months. Both companies cited COVID-related difficulties and submitted less-

than-perfect initial questionnaires –– requiring triple-digit numbers of supplemental

questions for both. However, only Simec experienced three deaths and an intubation

among the accountants responsible for responding to Commerce’s questionnaires.
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Only Simec noted that its experienced counsel, who had assisted in previous reviews,

could not travel because of COVID-19 restrictions. Commerce failed to appreciate the

severe disruptions COVID-19 caused in Simec’s ability to respond while crediting

Deacero’s more generic claims of difficulty. That the agency’s fact-finding process

lasted nearly three months after it told Simec no additional time was available

undermines any finality justification for Commerce’s actions.

      Commerce’s explanation also fails to properly characterize Simec’s situation.

The Issues and Decisions Memorandum is bereft of discussion of Simec’s specific

COVID-19 challenges and fails to consider how those challenges detract from

Commerce’s conclusion that none of the reasons Simec presented for one additional

extension were “novel.”    Their absence mars the conclusion as unsupported by

substantial evidence. Because Commerce abused its discretion and its conclusion is

unsupported by substantial evidence, the Court remands the case to Commerce to

reopen the record and allow Simec to add the information it would have included had

Commerce granted its final A–C Supplemental Questionnaire extension request.

      Commerce’s use of facts available, drawing of adverse inferences, and use of a

simple average to determine the non-examined company rate all flow from

Commerce’s unjustified decision to reject Simec’s final extension request. Because

Commerce’s final determination may change after it accepts Simec’s data, it would

be inappropriate for the Court to decide Plaintiffs’ remaining claims. On remand,

Commerce should analyze the information in Simec’s October 18 Filing and any

additional information it may request in its discretion to calculate (1) a new dumping
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margin for Simec and (2) a new non-selected company rate. The agency remains free

to use facts available to fill any gaps remaining after accepting Simec’s October 18

Filing and may draw adverse inferences if legally appropriate.

II.   Commerce’s Disparate Treatment of Simec Was an Abuse of Discretion

       Commerce abused its discretion when it denied Simec’s September 7 extension

request. It cut Simec out of the fact-gathering portion of the review well before

releasing the Preliminary Results while continuing to issue Deacero multiple

supplemental questionnaires and time extensions.       Cf. SKF USA Inc. v. United

States, 263 F.3d 1369, 1382 (Fed. Cir. 2001) (quoting Transactive Corp. v. United

States, 91 F.3d 232, 237 (D.C. Cir. 1996)) (“[I]t is well-established that ‘an agency

action is arbitrary when the agency offer[s] insufficient reasons for treating similar

situations differently.’”) (second alteration in original). Although Simec and Deacero

both proffered COVID-19 restrictions as justification for their extension requests,

Simec faced more acute challenges.        Nonetheless, Commerce denied Simec’s

September 7 extension request, continued to request and accept information from

Deacero until November 10, and did not publish its Preliminary Results until

December 3. Compare Simec A–C Questionnaire Extension Denial (Sept. 9, 2021),

J.A. at 6,282, ECF No. 68, and Deacero Third Suppl. Questionnaire Resp. (Nov. 10,

2021), J.A. at 7,162, ECF No. 68, with Preliminary Results, 86 Fed. Reg. 68,632, J.A.

at 7,269, ECF No. 68. Commerce’s differential treatment was an abuse of discretion.

       Commerce issued detailed questionnaires for both Simec and Deacero.

Compare Simec Initial Questionnaire, J.A. at 1,246, ECF No. 68, with Deacero Initial
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Questionnaire, J.A. at 1,094, ECF No. 68.      Both companies’ responses required

extensive supplementation. See Simec A–C Questionnaire Extension Req. (Aug. 20,

2021) at 1–2, J.A. at 4,917–18, ECF No. 68 (noting Simec received 275 supplemental

questions); Oral Arg. Tr. at 15:1–15, 37:17–18, ECF No. 71 (noting Deacero received

about 100 supplemental questions). Both filed multiple extension requests during

the supplemental questionnaire period, citing COVID-19 restrictions and the

questionnaires’ extensiveness as their primary challenges. See, e.g., Simec A–C/A&D

Questionnaire Extension Req. (Aug. 9, 2021) at 1, J.A. at 4,904, ECF No. 68 (stating

that it was a “huge” burden to answer both questionnaires and citing ongoing COVID-

19 restrictions); Deacero Second Suppl. Questionnaire Extension Req. (Sept. 24, 2021)

at 1–2, J.A. at 6,601–02, ECF No. 68 (stating the questionnaire is “quite extensive”

and COVID-19 imposed “administrative constraints”).

      However, Simec faced far more severe hurdles. Three of its key employees died

from COVID-19 –– one during the initial questionnaire period and two during the

supplemental questionnaire period. Pls.’ Br. at 5, ECF No. 43. Another employee

needed intubation. Simec Third A&D Questionnaire Extension Req. (Aug. 16, 2021),

J.A. at 4,914, ECF No. 68. Simec attempted to bring in experienced outside counsel

to assist, but Mexican and Indian COVID-19 restrictions blocked these efforts. Simec

Second A&D Questionnaire Extension Req. (Aug. 16, 2021) at 2, J.A. at 4,911, ECF

No. 68. The record reflects that Simec faced uniquely severe fallout from COVID-19.

Indeed, Commerce conceded at oral argument that it was unaware of any other

COVID-era respondent that experienced the level of hardship Simec did. Oral Arg.
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Tr. at 29:15–19, ECF No. 71 (The Court: “[A]re you aware of any other administrative

review engaged in during this time period in which multiple key employees died

during the administrative review?” Ms. Westercamp: “I am not, Your Honor.”).

       Deacero, by contrast, contended with the general COVID-19 hurdles multiple

pandemic-era respondents faced. See, e.g., Deacero Second Suppl. Questionnaire

Extension Req. (Sept. 24, 2021) at 2, J.A. at 6,602, ECF No. 68 (noting that COVID-

19 imposed “administrative constraints” and citing general COVID-19 issues such as

telework requirements). Deacero suffered no deaths or hospitalizations among key

employees. Instead, its extension requests (1) made general assertions of continued

difficulty because of Mexican COVID-19 restrictions; (2) cited issues that Simec also

raised, such as having a geographically dispersed company structure and the breadth

of the questionnaires; and (3) raised issues that were comparatively less severe than

Simec’s. See, e.g., Deacero Second Suppl. Questionnaire Extension Req. (Oct. 13,

2021) at 1–3, J.A. at 6,614–16, ECF No. 68 (noting unexpected computer connection

issues). In some extension requests, Deacero did not mention COVID-19 at all. See

id.   Nevertheless, Commerce continued to grant Deacero’s requests well after it

denied Simec’s September 7 extension request on the grounds that time was of the

essence.

       Commerce faced two respondents in this review. One confronted calamitous

consequences because of COVID-19. The other experienced disruptions akin to those

of any respondent in the pandemic era. Commerce chose to reward Deacero’s more

generic descriptions of difficulty with extensions while downplaying the much more
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severe difficulties Simec faced. Citing time constraints, Commerce shut Simec down

two months before it ended its examination of Deacero. IDM at 12, J.A. at 7,724, ECF

No. 68 (citing the “need to ensure sufficient time for review and possible further

supplemental questionnaires” as justification to deny the last extension request).

      Commerce and the Coalition offer several reasons for why the agency did not

abuse its discretion when it denied Simec’s September 7 extension request. Their

arguments focus on the timeline of events and the supposed divergence between

Simec’s and Deacero’s respective reviews. Def.’s Br. at 15, 18–19, 31, 34, ECF No. 47;

see also Def-Int.’s Br. at 8, 10–12, ECF No. 54. These arguments are unavailing.

      Commerce and the Coalition first argue that Simec attempted to file its

information on October 18 –– well past the September 16 deadline Simec originally

requested in its September 7 extension request. See Def.’s Br. at 5, 31, ECF No. 47

(quoting IDM at 28, J.A. at 7,740, ECF No. 68); see also Simec A–C Questionnaire

Extension Req. (Sept. 7, 2021), J.A. at 4,959, ECF No. 68. They also assert that Simec

received nearly all the time it sought in prior extension requests and still did not

submit timely responses. See Oral Arg. Tr. at 50:22–51:2, ECF No. 71 (Coalition’s

counsel arguing that Simec eventually received the time it originally requested after

notifying Commerce of employee deaths).

      It is true that Simec did not meet its proposed September 16 deadline.

However, Commerce rejected that deadline, stating “the deadline for the submission

… was 8:30 a.m., September 8, 2021[,]” and “we previously denied [Simec’s] request

for an extension … [and] we are similarly denying [this] requested extension.” Simec
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A–C Questionnaire Extension Denial (Sept. 9, 2021) at 1–2, J.A. at 6,282–83, ECF

No. 68 (emphasis added). Although it would have been prudent for Simec to try to

submit the missing information at the first opportunity, Commerce can hardly fault

Simec for failing to abide by a deadline the agency rejected. Cf. Celik Halat ve Tel

Sanayi A.S. v. United States, 46 CIT __, 557 F. Supp. 3d 1348, 1359 (2022) (“While

this court agrees that it would have been prudent for Celik Halat’s representative to

file an extension request, timely or otherwise, the court also notes the existence of

record evidence to support a reasonable belief … that both of these efforts would have

been futile.”).

       The Coalition and Commerce attempt to explain the refusal to grant Simec

additional time by citing the need for finality and the burden of accepting late-filed

information. See Def.’s Br. at 18–19, ECF No. 47; Def-Int.’s Br. at 9–10, ECF No. 54;

see also Oral Arg. Tr. at 51:23–25, ECF No. 71 (“[E]veryone seems to agree … the

balance that is before the Court [is] accuracy versus finality.”). However, Commerce’s

interest in finality nearly three months before releasing the Preliminary Results was

not just at a nadir; it was nearly zero. See Timken United States Corp. v. United

States, 434 F.3d 1345, 1353 (Fed. Cir. 2006) (“This court … has never discouraged the

correction of errors at the preliminary result stage; we have only balanced the desire

for accuracy in antidumping duty determinations with the need for finality at the

final results stage.”). That interest in finality was even lower in early September,

when Commerce rejected Simec’s extension request, than in mid-October, when

Commerce rejected Simec’s final attempted filing.
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      Commerce’s concern with finality rings hollow when one considers it would be

nearly three months and three supplemental questionnaires for Deacero before

Commerce issued the Preliminary Results. Neither Simec nor Deacero submitted

stellar initial questionnaires. Both necessitated multiple rounds of supplementation

amounting to triple-digit numbers of additional queries. But Commerce opted to cut

Simec out of the remaining fact-gathering portion while continuing to allow Deacero

additional extensions. Compare Deacero Second Suppl. Questionnaire Extension

Req. (Oct. 13, 2021) at 2, J.A. at 6,615, ECF No. 68 (“Deacero respectfully submits

that this short extension will not adversely affect any other party or unduly hinder

[Commerce’s] ability to analyze the information within the statutory deadlines.”), and

Deacero Second Suppl. Questionnaire Extension Grant (Oct. 13, 2021), J.A. at 6,617,

ECF No. 68, with IDM at 12, J.A. at 7,724, ECF No. 68 (citing the “need to ensure

sufficient time for review and possible further supplemental questionnaires” as

justification to deny Simec’s last extension request). Deacero answered over one

hundred supplemental questions after Commerce had ended Simec’s role in the fact

gathering process. Pls.’ Reply at 6, ECF No. 51. Commerce attempted to explain its

wildly differential treatment:

      Deacero was farther along in the administrative process than Grupo
      Simec because of the significant amount of time that it took Commerce
      to review Grupo Simec’s initial questionnaire responses and because
      Commerce had granted Grupo Simec a significant amount of time to
      prepare its first supplemental questionnaire responses.          More
      importantly, though, as the administrative process runs its course, the
      deadlines and requests for information from each respondent diverge,
      and, as such, Commerce’s deadlines for one respondent are not
      comparable with those of another, nor is the submission of untimely-
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         filed information justifiable simply because we accept information from
         another party on that date.
IDM at 18, J.A. at 7,730, ECF No. 68.

         This statement does little to clarify Commerce’s actions. Though Simec’s and

Deacero’s deadlines might diverge during the supplemental questionnaire process,

there is no escaping their common deadline — the Preliminary Results. Commerce

ended Simec’s participation in the review as Deacero continued to submit a

significant amount of information for two more months.                As the Consolidated

Plaintiffs correctly note, “[T]he likely burden on Commerce to receive responses to six

questions … five to seven days after receiving responses to 269 other questions was

comparatively insignificant” — particularly when Commerce made time over the next

couple of months to issue and review more than one hundred queries from Deacero.

Joint Opening Br. at 27, ECF No. 44.

         By Commerce’s own admission, no respondent was more affected by the

COVID-19 pandemic than Simec.             Meanwhile, Deacero experienced the same

frustrations    as   every   other    pandemic-era   respondent       going   through   the

administrative review process. Commerce credited Deacero’s general complaints and

granted sufficient time for it to submit the required information. Conversely, the

agency downplayed the rising death toll at Simec, grew frustrated, and prematurely

ended Simec’s ability to respond to Commerce’s questionnaires. Because Commerce’s

actions were arbitrary, its decision to reject Simec’s request for an extension may not

stand.
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      Simec asserts that (1) it could have timely submitted its missing information

had Commerce granted it one final extension; (2) its attempted October 18 Filing was

the same information that it would have submitted had Commerce granted one final

extension; and (3) it chose to submit information on October 18 because that date

coincided with Deacero’s second supplemental questionnaire deadline –– the then-

final date that Commerce would take factual evidence from either respondent. See

Oral Arg. Tr. at 18:10–18, 19:20–20:13, ECF No. 71. In other words, Simec sought to

be on equal footing with Deacero at the end of the supplemental questionnaire period.

Commerce did not refute these representations. See IDM at 20, J.A. at 7,732, ECF

No. 68 (“Simec elected to ignore Commerce’s established supplemental questionnaire

deadlines and then later attempted to submit the information that it failed to submit

in a timely manner ….”) (emphasis added); see also Def.’s Br. at 5, ECF No. 47 (“[O]n

October 18, 40 days after the September 7 deadline and automatically extended

September 8 8:30 a.m. deadline, Simec filed a submission containing the information

Commerce had requested in the A-C supplemental questionnaire.”).          The Court

therefore REMANDS the case to Commerce to reopen the record and accept the

October 18 Filing.

 III. Commerce’s Conclusions Are Unsupported by Substantial Evidence

      Were it not an abuse of discretion, Commerce’s decision to reject Simec’s

request for additional time would also fail for not being supported by substantial

evidence.   See Universal Camera Corp., 340 U.S. at 488 (“The substantiality of

evidence must take into account whatever in the record fairly detracts from its
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weight.”).   Commerce claimed that “none of the reasons for [Simec’s] extension

requests … were novel.” See IDM at 10, J.A. at 7,722, ECF No. 68. Three dead

accountants, a fourth hospitalized, and an outside counsel unable to help because of

pandemic restrictions are the very definition of “novel.” Commerce’s attempt to say

otherwise does not find sufficient evidentiary support in the record.

      Simec faced severe challenges in both the initial and supplemental

questionnaire periods. While answering the initial questionnaire, Simec notified

Commerce that its workers contracted COVID-19, an at-risk pregnant worker needed

to be isolated, and a key accountant died from COVID-19. See, e.g., Simec Initial

Questionnaire Extension Req. (Mar. 19, 2021) at 1, J.A. at 3,707, ECF No. 68. It also

notified Commerce that a record-setting Texas winter storm affected power, heat, and

internet at Simec’s facilities. Id.

      Things did not get better during the supplemental questionnaire period.

Simec’s COVID-19 challenges persisted and compounded. In early August, Simec

requested extensions for both supplemental questionnaires, explaining Mexican

COVID-19 restrictions hindered coordination and on-site work across multiple

locations. Simec A–C/A&D Questionnaire Extension Req. (Aug. 9, 2021), at 1, J.A. at

4,904, ECF No. 68. On August 16, Simec’s situation worsened. In addition to citing

ongoing restrictions, Simec informed Commerce that two more accountants died from

COVID-19; another accountant was intubated; and Simec’s experienced outside

counsel, who was “extremely helpful” in a prior administrative review, could not

travel to Mexico because of COVID-19 restrictions. Simec A&D Extension Reqs. (Aug.
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16, 2021), J.A. at 4,911, 4,914, ECF No. 68.      From mid-August to the rejected

September 7 extension request, Simec reiterated these challenges and advised

Commerce of new hurdles. See, e.g., Simec A–C Questionnaire Extension Req. (Sept.

6, 2021), J.A. at 4,954, ECF No. 68.

      Commerce claims that it properly credited Simec’s COVID-19 challenges when

considering its extension requests. Def.’s Br. at 31–32, ECF No. 47. It characterized

Simec’s difficulties this way:

      Grupo Simec informed Commerce of its challenges early on and, while
      the extension letters made minor updates to the effects of COVID-19 on
      the respondent, these were essentially the same reasons that were
      provided early on in the proceeding and had been considered by
      Commerce. As such, Grupo Simec’s argument that Commerce failed to
      consider the whole picture [is] inaccurate. Commerce was well aware of
      Grupo Simec’s situation, particularly as none of the reasons for extension
      requests to the supplemental questionnaire were novel.

IDM at 9–10, J.A. at 7,721–22, ECF No. 68 (emphases added). Letters announcing

additional deaths are not “minor updates.”             And Commerce forthrightly

acknowledged at oral argument that Simec experienced more COVID difficulties than

any other pandemic-era respondent. Oral Arg. Tr. at 29:16–19, ECF No. 71 (The

Court: “[A]re you aware of any other administrative review engaged in during this

time period in which multiple key employees died during the administrative review?”

Ms. Westercamp: “I am not, Your Honor.”). The closest Commerce’s memorandum

comes to acknowledging Simec’s death toll is its statement, “[W]e … appreciated the

burden that Grupo Simec has previously expressed it was experiencing due to the

effects of COVID-19, including the loss of staff ….” IDM at 12, J.A. at 7,724, ECF No.

68. Read in the context of the remainder of the decision, a disinterested reader would
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likely surmise that Simec experienced normal workforce attrition, not three deaths

and a hospitalization. See id. (nowhere noting the hospitalization, the number of

employees “los[t],” the inability of outside counsel to travel to the location, etc.).

       This is not merely a memorandum decision’s being “anodyne or perhaps

antiseptic.” Oral Arg. Tr. at 31:14–16, ECF No. 71 (Government counsel’s

characterization). This is an agency decision that failed to link the facts found to the

choice made. Many “novel” events occurred. It was Commerce’s job to acknowledge

that and explain how it took those sad novelties into account in making its decision

to reject Simec’s request for further time. Because Commerce failed to engage with

record evidence that detracts from its conclusion, its decision to deny Simec’s

extension request is also unsupported by substantial evidence. See 19 U.S.C. §

1516a(b)(1)(B)(i) (requiring determinations without substantial evidentiary support

to be set aside).

                                    CONCLUSION

       Commerce is granted broad authority to set and administer deadlines to

ensure it can issue results on a timely basis. Its discretion is not unlimited, however.

Cf. Grobest, 36 CIT at 123 (describing a court’s analysis of whether Commerce’s

rejection of an untimely filing is an abuse of discretion as “necessarily case specific”).

Despite its claim that Simec was unreasonably slow, Commerce gave Simec five fewer

days than Deacero received to respond to 175 more supplemental questions than

Deacero answered.7 Simec submitted answers for all but six questions despite facing


7 Simec received its A–C Supplemental Questionnaire on July 28, 2021, and submitted its

A&D Supplemental Questionnaire responses on September 10, 2021, for a total of 45 calendar
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unprecedented hardships because of COVID-19’s toll in Mexico. Commerce failed to

acknowledge the compounding difficulties Simec faced, and it cut Simec’s opportunity

to provide evidence short while allowing Deacero the opportunity to answer questions

for an additional two months. Because Commerce abused its discretion in denying

Simec’s extension request and its analysis is unsupported by substantial evidence,

the Court GRANTS Plaintiffs’ Motions for Judgment on the Agency Record. It is

further:

       ORDERED that Commerce shall reopen the record and accept the information

Simec proffered on October 18, 2021. Commerce, in its discretion, may request any

other information it may need after reviewing the October 18 data;

       ORDERED that Commerce shall conduct a new analysis to determine if facts

available or adverse inferences are warranted;




days working on supplemental questionnaires. Simec A–C Questionnaire, J.A. at 4,873, ECF
No. 68; Simec A&D Questionnaire Resp. (Sept. 10, 2021) at 1, J.A. at 86,713, ECF No. 66.

Deacero received its First Supplemental Questionnaire on September 7, 2021, and submitted
responses on September 20, 2021. See Deacero First Suppl. Questionnaire, J.A. at 4,962,
ECF No. 68; Deacero First Suppl. Questionnaire Resp. (Sept. 20, 2021), J.A. at 6,515, ECF
No. 68. Deacero received its Second Supplemental Questionnaire on September 22, 2021,
and submitted the last of its responses on October 19, 2021. See Deacero Second Suppl.
Questionnaire, J.A. at 6,589, ECF No. 68; Deacero Second Suppl. Questionnaire Resp. (Oct.
19, 2021), J.A. at 6,629, ECF No. 68. Deacero received its Third Supplemental Questionnaire
on November 3, 2021, and submitted responses on November 10, 2021. See Deacero Third
Suppl. Questionnaire, J.A. at 7,120, ECF No. 68; Deacero Third Suppl. Questionnaire Resp.
(Nov. 10, 2021), J.A. at 7,162, ECF No. 68. Thus, Deacero spent fourteen, twenty-eight, and
eight days responding to three questionnaires –– totaling fifty calendar days working on its
supplemental questionnaires.

In examining the respective supplemental questionnaire periods, the Court used the
timestamped file date and included both the date a questionnaire was sent and the date the
company filed responses as working days.
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         ORDERED that Commerce shall reanalyze the non-selected company rate

and make any needed adjustments; and it is further

         ORDERED that Commerce shall file its Remand Determination with the

Court within 120 days of today's date;

         ORDERED that all Plaintiffs shall have 30 days from the filing of the Remand

Determination to submit comments to the Court;

         ORDERED that Defendant shall have 30 days from the date of Plaintiffs'

filing of comments to submit a response;

         ORDERED that Defendant-Intervenor shall have 15 days from the date of

Defendant's filing of comments to submit its response; and

         ORDERED that all Plaintiffs shall have 15 days from the date of Defendant-

Intervenor's filing to submit any reply.


         SO ORDERED.


                                               Stephen Alexander Vaden, Judge

Dated:     (k.i). Z~ z.oz.'f
         New York, New York
